       Case 4:09-cv-01315-KAW Document 220 Filed 06/04/15 Page 1 of 4



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 8
                                     UNITED STATES DISTRICT COURT
 9
                                 NORTHERN DISTRICT OF CALIFORNIA
10

11   ALEKSANDR L. YUFA                                     Case No. 09-01315 KAW
12                             Plaintiff,
                                                           The Honorable Kandis A. Westmore
13         v.
                                                           DEFENDANT’S REPLY IN SUPPORT
14   TSI INCORPORATED                                      OF RENEWED MOTION TO APPOINT
                                                           RECEIVER AND TO COMPEL
15                                                         ASSIGNMENT OF PATENTS TO
                               Defendant.                  RECEIVER
16
                                                           Hearing Date: June 18, 2015
17                                                         Time:         11 a.m.
                                                           Courtroom:    4 – 3rd Floor
18
                In opposition to Defendant TSI, Inc.’s (“TSI”) Renewed Motion for Appointment of a
19
     Receiver, Plaintiff Aleksandr L. Yufa (“Yufa”) suggests much more remains in his cases against
20
     other companies for alleged infringement of his patents than what actually remains pending.
21
     (Dkt. #219 p. 1.) This Court denied without prejudice TSI’s original motion for appointment of a
22
     receiver “pending the outcome of the appeal in this matter.” (Dkt. #213 (emphasis added).) This
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     Court did not deny TSI’s motion based on Yufa’s other cases. Nor should it. Only two cases
24
     remain “pending,” in the sense that they await rulings from a court.
25
                First, the Central District of California has already granted TSI’s motion for summary
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     judgment of non-infringement in Yufa’s separate action against TSI in that district. Yufa v. TSI,
27
     Incorporated, No. 15-1063 (C.D. Cal.). (See Dkt. #218 at 2-3.) Yufa’s appeal is stayed, pending
28
     Case No. 09-01315 KAW                           1                   DEFENDANT’S REPLY IN SUPPORT OF
                                                              RENEWED MOTION FOR APPOINTMENT OF RECEIVER

     DOCS-#3990162-v1
       Case 4:09-cv-01315-KAW Document 220 Filed 06/04/15 Page 2 of 4



 1   the district court’s disposition of TSI’s motion for fees and costs. (Id.) Final disposition of the
 2   Central District case will likely only increase, not reduce, Yufa’s liability to TSI.
 3            Second, Yufa has appealed the District of Oregon’s grant of summary judgment in favor
 4   of Hach Ultra Analytics, Inc. See Yufa v. Hach Ultra Analytics, Inc., No. 1:09-cv-03022, 2014
 5   WL 2450749, at *5 (D. Or. May 30, 2014). However, the District of Oregon’s decision was
 6   based on collateral estoppel due to the earlier Lockheed Martin case involving the same products.
 7   The Federal Circuit has already affirmed Lockheed Martin. 575 Fed. Appx. 881 (Fed. Cir. 2014).
 8   Thus, the appeal in the Hach Ultra Analytics case is not a reason to delay enforcement of TSI’s
 9   judgment against Yufa in the present case.
10            The remaining actions Yufa has filed against other companies have all been stayed. (Dkt.
11   #218 at 4.) Yufa admits that one of the cases that was previously stayed has now been voluntarily
12   dismissed. (Dkt. #219 at 4.)
13            Yufa argues he will be unfairly prejudiced if his patents are sold by the receiver because
14   some of the same companies that he has sued could buy the patents and dispose of the cases Yufa
15   has filed against them. (Id.) However, if this occurred, Yufa would not be prejudiced; he would
16   actually benefit. No company has ever paid Yufa a license for his patents. In all of Yufa’s cases
17   that have progressed to decision, a court has granted summary judgment of non-infringement.
18   Thus, a sale of Yufa’s patents by the receiver would be the only profit he has realized from his
19   patents.
20            If Yufa’s cases are truly worth $154.5 million as he claims (Dkt. #219 at 8), then the
21   market will pay him handsomely for his patents. Yufa stands to benefit from a sale because he
22   will be able to satisfy in whole or part the judgment in favor of TSI that, by his own admission, he
23   will never be able to pay. Whether he recognizes it or not, Yufa will benefit more from a sale of
24   his patent by a receiver than will ever get by pursuing whatever is left of his remaining cases
25   against other companies.
26            TSI respectfully requests that the Court grant TSI’s Motion, appoint a receiver, and order
27   Yufa to assign his patents to the receiver in order to satisfy the outstanding judgement in favor of
28   TSI.
     Case No. 09-01315 KAW                          2                   DEFENDANT’S REPLY IN SUPPORT OF
                                                             RENEWED MOTION FOR APPOINTMENT OF RECEIVER

     DOCS-#3990162-v1
       Case 4:09-cv-01315-KAW Document 220 Filed 06/04/15 Page 3 of 4



 1   DATED: June 4, 2015                BY: /s/ Courtland C. Merrill
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     Case No. 09-01315 KAW              3                  DEFENDANT’S REPLY IN SUPPORT OF
                                                RENEWED MOTION FOR APPOINTMENT OF RECEIVER

     DOCS-#3990162-v1
       Case 4:09-cv-01315-KAW Document 220 Filed 06/04/15 Page 4 of 4



 1                                             Proof of Service by Mail
 2            I, Courtland C. Merrill state:

 3            I am over the age of 18 years, employed in the county of Hennepin and am not a party to

 4   the above-entitled case. My business address is 90 South Seventh Street, Suite 3600,

 5   Minneapolis, MN 55402.

 6            On the below executed date, I served the following document:

 7            1.        DEFENDANT’S REPLY IN SUPPORT OF RENEWED MOTION TO

 8                      APPOINT RECEIVER AND TO COMPEL ASSIGNMENT OF PATENTS

 9                      TO RECEIVER

10            By depositing a copy thereof in the United States mail at 90 South Seventh Street, Suite

11   3600, Minneapolis, MN 55402 in a sealed envelope, postage fully prepaid, addressed to:

12            Aleksandr L. Yufa
              698 Cypress Avenue
13            Colton, CA 92324
14            I declare under penalty of perjury under the laws of the State of Minnesota that the
15   foregoing is true and correct. Executed at Minneapolis, MN on June 4, 2015.
16

17                                                                   /s/ Courtland C. Merrill
                                                                     Courtland C. Merrill
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     Case No. 09-01315 KAW                             4                  DEFENDANT’S REPLY IN SUPPORT OF
                                                               RENEWED MOTION FOR APPOINTMENT OF RECEIVER

     DOCS-#3990162-v1
